IT IS SO ORDERED.

Dated: 29 August, 2019 12:14 PM




                         IN THE UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION – CLEVELAND

IN RE:                                      Case No. 19-11398-jps

         MICHAEL R. SINTONI                 Judge: Jessica E. Price Smith

                     Debtor                 Chapter 7


LAWRENCE D. GREGG                           Adversary Case No.

                     Plaintiff              ORDER    GRANTING     MOTION   FOR
                                            CONTINUANCE OF PRETRIAL CONFERENCE
         -v-                                SCHEDULED FOR AUGUST 21, 2019

MICHAEL R. SINTONI

                     Defendant

      Upon Motion of the Plaintiff, and for good cause shown, the Pretrial Conference
scheduled for August 21, 2019 is continued to September 18, 2019 at 10:00 a.m.

                                              Respectfully submitted,

                                              /s/ Jann C. Washington
                                              Jann C. Washington (0087239)




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                                                 5247 Wilson Mills Rd. #185
                                                 Richmond Hts., OH 44143
                                                 (440) 552-5492 F: (440) 571-0522
                                                 Jann@Jwashingtonlaw.com
                                                 Attorney for Plaintiff




                                  CERTIFICATE OF SERVICE

       The foregoing Order Granting Motion for Continuance was served via the Court’s
Electronic Filing System on:

       Jann C. Washington, attorney for Plaintiff, at Jann@Jwashingtonlaw.com
       Virgil Brown, Chapter 7 Trustee, at virgil@vebtrustee.com
       William J. Balena, Attorney for Defendant, at docket@ohbksource.com

And by regular Mail, postage prepaid, upon:

Michael Sintoni
1957 Fowl Rd. E6
Elyria, OH 44035




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